  Case 4:20-cv-04113-SOH Document 2                 Filed 12/23/20 Page 1 of 13 PageID #: 3




                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION

CITY OF ASHDOWN, ARKANSAS                              §
individually and on behalf of all                      §       CIVIL ACTION NO. __________
others similarly situated,                             §
                                                       §
               Plaintiff,                              §
                                                       §
       v.                                              §       Hon. Judge Susan O. Hickey
                                                       §
NETFLIX, INC., and HULU, LLC,                          §
                                                       §
               Defendants.                             §
                                                       §
                                                       §

                 PLAINTIFF’S ORIGINAL CLASS ACTION COMPLAINT

       COMES NOW Plaintiff, City of Ashdown, Arkansas, individually and on behalf of all

those similarly situated (the “Class,” as more fully defined below), and files this Original Class

Action Complaint against Defendants Netflix, Inc. and Hulu, LLC (collectively, “Defendants”),

alleging as follows:

                                         INTRODUCTION

       1.      Defendants provide video service in Arkansas municipalities. When doing so, they

use wireline facilities (i.e., broadband wireline facilities) located at least in part in public rights-

of-way.

       2.      Accordingly, Defendants should be and are required by the Arkansas Video Service

Act to pay each of those municipalities a franchise fee of 5% percent of their gross revenue, as

derived from their providing video service in that municipality.

       3.      Defendants have failed to pay the required fee, necessitating this lawsuit, and

entitling Plaintiff and the other Class members to the relief requested herein.
  Case 4:20-cv-04113-SOH Document 2                   Filed 12/23/20 Page 2 of 13 PageID #: 4




                                             PARTIES

       4.      Plaintiff, City of Ashdown, Arkansas is a lawfully existing Arkansas municipal

corporation located in Little River County, Arkansas.

       5.      Defendant Netflix, Inc. (“Netflix”) is a Delaware corporation, headquartered in Los

Gatos, California. Netflix’s primary businesses are its video service, which offers online streaming

of a library of films and television programs, as well as the distribution and production of original

films and television series. Netflix does business in Ashdown, Arkansas, and has done so at all

times relevant to this action.

       6.      Defendant Hulu, LLC (“Hulu”) is a Delaware limited liability company,

headquartered in Santa Monica, California. Hulu’s primary businesses are its video service, which

offers online streaming of live video programming and a library of films and television programs,

as well as the distribution and production of original films and television series. Hulu does business

in Ashdown, Arkansas, and has done so at all times relevant to this action.

                                 JURISDICTION AND VENUE

       7.      This Court has original jurisdiction over this action under the Class Action Fairness

Act of 2005 (“CAFA”), 28 U.S.C. § 1332(d). Defendants are citizens of a state different from that

of Plaintiff, the putative class size is greater than 100, and the aggregate amount in controversy for

the proposed Class exceeds $5,000,000, exclusive of interest and costs.

       8.      Venue is proper in this District, and this Court has personal jurisdiction over

Defendants, pursuant to 18 U.S.C. § 1965(a) and 28 U.S.C. § 1391(b), because a substantial part

of the events giving rise to the claims occurred in this District, and because Defendants “transact

affairs” in this District; each Defendant continuously and systematically engaged in and continues

to engage in business in this District.



                                                  2
    Case 4:20-cv-04113-SOH Document 2                     Filed 12/23/20 Page 3 of 13 PageID #: 5




                                     FACTUAL ALLEGATIONS

        9.       Defendants provide video service to their subscribers to view television shows,

movies, documentaries, and other programming.1 They compete with other video service

providers,2 offering video programming that is comparable to that provided by cable companies

and television-broadcast stations.

        10.      Customers view Netflix’s and Hulu’s video programming—such as television

shows, movies, and documentaries—using an Internet-connected device. Internet-connected

devices are electronic devices that have software enabling them to stream Defendants’ video

programming, including smart televisions, streaming media players like Roku or Apple TV,

smartphones, tablets, video game consoles, set-top boxes from cable and satellite providers, Blu-

ray players, and personal computers.

        11.      When a subscriber wants to watch Netflix or Hulu, he or she uses an Internet-

connected device to send a request to the Internet-service provider. The Internet-service provider

then forwards that request to Netflix’s and Hulu’s dedicated Internet servers, which, in turn,

provide a response. This response is then relayed back to the subscriber’s device, and Netflix and

Hulu deliver the video programming via Internet protocol technology (i.e., broadband wireline

facilities located at least in part in public rights-of-way).



1
  “Video service” means the delivery to subscribers of video programming services that are generally
considered comparable to video programming delivered to viewers by a television broadcast station, cable
service, or digital television service, and which is provided primarily through equipment or facilities located
in whole or in part in, on, under, or over any public right-of-way. This definition does not include any video
service provided by a commercial mobile service provider as defined in 47 U.S.C. § 332(d), or any video
programming that is provided as part of and via a service that enables end users to access content,
information, electronic mail, or other services offered over the public Internet. See Ark. Code Ann. § 23-
19-202(15).
2
 “Video service provider” means a provider of video service, including without limitation a cable service
provider, an incumbent video service provider, and a nonincumbent video service provider. See Ark. Code
Ann. § 23-19-202(16).

                                                      3
  Case 4:20-cv-04113-SOH Document 2                     Filed 12/23/20 Page 4 of 13 PageID #: 6




        12.       During the relevant time period, Netflix has used a content delivery network called

Netflix Open Connect to deliver 100% of its video traffic to its subscribers. When a Netflix

subscriber wants to view Netflix programming, the subscriber’s Internet service provider will

connect the subscriber to the closest Netflix Open Connect server offering the fastest speeds and

best video quality.

        13.       According to Netflix, that means that most of its subscribers receive Netflix’s video

programming from servers either inside of, or directly connected to, the subscriber’s Internet

service provider’s network within their local region. Netflix has “end-to-end” control of its entire

Open Connect system, including any servers located in Ashdown and other Arkansas

municipalities.

        14.       Similar to Netflix, when a Hulu subscriber wants to view Hulu, the subscriber’s

Internet service provider will connect the subscriber to the Hulu server. Hulu receives the directive

and checks the subscriber’s entitlement, the location, and the content availability. It then delivers

the program through the Internet to the subscriber’s Internet-connected device.

        15.       Defendants’ subscribers typically use a broadband Internet connection, such as

DSL or fiber optic cable to receive Defendants’ programming. In Ashdown, common providers

include NewWave, Walnut Hill, and AT&T. These broadband Internet connections rely upon

wireline facilities located in whole or in part in the public right(s)-of-way to deliver Internet service

to subscribers. That means that Defendants operate and provide their video service to Defendants’

subscribers through wireline facilities located at least in part in the public right-of-way. Nothing

in the Arkansas Video Service Act requires Defendants to construct, own, or operate these wireline

facilities. Those wireline facilities can be owned or operated by a third party. In fact, the Arkansas

Video Service Act states that video can be provided and is thusly defined “without regard to



                                                    4
    Case 4:20-cv-04113-SOH Document 2                 Filed 12/23/20 Page 5 of 13 PageID #: 7




delivery technology, including internet protocol technologies”. Ark. Code Ann. § 23-19-

202(15)(A). Defendants’ use of wireline facilities located at least in part in the public right-of-way

to transmit content to their subscribers puts them squarely within the Arkansas Video Service Act.

          16.    As video service providers, Defendants were required to file an application with the

Secretary of State for a state-issued certificate of franchise authority (“SICFA”) prior to providing

video service after June 30, 2013, unless they were providing video service under a franchise from

a political subdivision in effect on March 6, 2013, elected to negotiate a franchise with a political

subdivision or adopted the terms and conditions of an existing franchise issued by a political

subdivision to an incumbent video service provider.3

          17.    Defendants do not provide service under an existing franchise in Ashdown,

Arkansas, did not adopt the terms and conditions of an existing franchise with Ashdown, Arkansas,

and have not negotiated with Ashdown, Arkansas for a new franchise.

          18.    Defendants failed to apply for and obtain a SICFA, and are, therefore, providing

video service throughout Arkansas without authorization, and in contravention of the Arkansas

Video Service Act. Ark. Code Ann. §23-19-203(a)(1)(C) (“A person shall not act as a video service

provider within the state unless the person has been granted a [SICFA]”).

          19.    A SICFA authorizes video service providers such as Defendants to use public

rights-of-way, as long as said video service provider made a quarterly franchise payment to each

political subdivision in which it provides service.4




3
    See Ark. Code Ann. §23-19-203(a-c).
4
    Ark. Code Ann. §23-19-206(c).

                                                  5
    Case 4:20-cv-04113-SOH Document 2                Filed 12/23/20 Page 6 of 13 PageID #: 8




          20.    The required franchise payment must be equal to 5% of gross revenues received by

the franchise holder from the provision of services in that city, unless the city has an existing

franchise that makes a lower payment, or the video service provider has negotiated with the city.5

          21.    No video service provider in Ashdown, Arkansas pays less than a 5% franchise fee,

and Defendants failed to negotiate with Ashdown.

          22.    Defendants were required to obtain a SICFA before providing video service in

Ashdown, and the other Arkansas municipalities in which it provides they provide their video

services, since they did not opt into one of the other three options. Defendants’ failure to obtain a

SICFA, however, did not relieve Defendants of the obligation to pay a franchise fee of 5% of their

gross revenues, as derived from providing such video service in those municipalities. Nothing in

the Arkansas Video Service Act provides that an entity otherwise qualified as a “video service

provider” is exempt from this requirement, or from liability in this Court, so long as it refrains

from obtaining a SICFA.

          23.    Defendants have failed to comply with the Arkansas Video Service Act, because

they have failed to pay Plaintiff and the other Class members the required franchise fee of 5% of

gross revenues. Defendants cannot escape liability by arguing that they simply were not SICFA

holders; they were required to apply for and obtain a SICFA, then pay the franchise fee of 5% of

gross revenues derived from providing video service in Ashdown in the manner in which they did.

          24.    Plaintiff Ashdown, individually and on behalf of other Arkansas municipalities,

seeks to require Defendants to abide by the Arkansas Video Service Act, and pay what they owe

to these municipalities.




5
    Ark. Code Ann. §23-19-206(e).

                                                 6
 Case 4:20-cv-04113-SOH Document 2                    Filed 12/23/20 Page 7 of 13 PageID #: 9




                               CLASS ACTION ALLEGATIONS

       25.     Plaintiff brings this action as a class action pursuant to Rules 23(a), 23(b)(2), and

(b)(3) of the Federal Rules of Civil Procedure, on behalf of a class defined as:

       All Arkansas municipalities in which one or more of the Defendants has provided
       video service (the “Class”).

       26.     Excluded from the Class are Defendants and any of their members, affiliates,

parents, subsidiaries, officers, directors, employees, successors, or assigns; and the Court staff

assigned to this case and their immediate family members. Plaintiff reserves the right to modify or

amend the Class definition, as appropriate, during the course of this litigation.

       27.     This action has been brought and may properly be maintained on behalf of the Class

proposed herein under the criteria of Rule 23 of the Federal Rules of Civil Procedure.

       28.     Numerosity—Federal Rule of Civil Procedure 23(a)(1). The proposed Class is

sufficiently numerous that individual joinder of all Class members is impracticable. Indeed, the

Class size is believed to be in excess of five hundred municipalities. Class members may be

notified of the pendency of this action by recognized, Court-approved notice dissemination

methods, which may include U.S. Mail, electronic mail, Internet postings, and/or published notice.

       29.     Commonality and Predominance—Federal Rules of Civil Procedure 23(a)(2)

and 23(b)(3). This action involves common questions of law and fact, which predominate over

any questions affecting only individual Class members, including, without limitation:

               a. Whether Defendants provide video service, as defined by Ark. Code Ann. § 23-
                  19-202(15) within Plaintiff’s and the other Class members’ geographic areas;

               b. Whether Defendants are video service providers, as defined by Ark. Code Ann.
                  § 23-19-202(16);

               c. Whether Defendants were required to file an application with the Secretary of
                  State for a state-issued certificate of franchise authority;



                                                  7
 Case 4:20-cv-04113-SOH Document 2                 Filed 12/23/20 Page 8 of 13 PageID #: 10




               d. Whether Defendants have failed to pay franchise fees pursuant to Ark. Code
                  Ann. § 23-19-206(b);

               e. The appropriate measure of damages to award Plaintiff and the other Class
                  members; and

               f. The appropriate declaratory relief to which Plaintiff and the other Class
                  members are entitled.

       30.     Typicality—Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s claims are

typical of the other Class members’ claims because Plaintiff and each of the other Class members

is entitled to franchise fee payments from Defendants pursuant to Ark. Code Ann. § 23-19-206,

and Defendants have failed to pay Plaintiff and each of the other Class members those franchise

fees. Plaintiff is asserting the same claims and legal theories individually and on behalf of the other

Class members.

       31.     Adequacy of Representation—Federal Rule of Civil Procedure 23(a)(4).

Plaintiff is an adequate Class representative because its interests do not conflict with the interests

of the other Class members who it seeks to represent, Plaintiff has retained counsel competent and

experienced in complex class action litigation, including successfully litigating class action cases

similar to this one, where defendants breached statutory obligations, and Plaintiff intends to

prosecute this action vigorously. Class members’ interests will be fairly and adequately protected

by Plaintiff and its counsel.

       32.     Declaratory and Injunctive Relief—Federal Rule of Civil Procedure 23(b)(2).

Defendants acted or refused to act on grounds generally applicable to Plaintiff and the other Class

members, thereby making appropriate final injunctive relief and/or declaratory relief, as described

below, with respect to Class members.

       33.     Superiority—Federal Rule of Civil Procedure 23(b)(3). A class action is

superior to any other available means for the fair and efficient adjudication of this controversy,

                                                  8
    Case 4:20-cv-04113-SOH Document 2             Filed 12/23/20 Page 9 of 13 PageID #: 11




and no unusual difficulties are likely to be encountered in the management of this class action.

Individualized litigation creates a potential for inconsistent or contradictory judgments and

increases the delay and expense to all parties and the court system. By contrast, the class action

device presents far fewer management difficulties, and provides the benefits of single adjudication,

economy of scale, and comprehensive supervision by a single court.

                                         CLAIMS ALLEGED

                                        COUNT I
                          VIOLATION OF ARK. CODE ANN. § 23-19-206

          34.    Plaintiff repeats, realleges, and incorporates by reference Paragraphs 1-33, as if

fully set forth herein.

          35.    Defendants provide video service, and are video service providers, in Ashdown,

and each municipality comprising the Class.6 Defendants derive gross revenues from providing

these video services.

          36.    Defendants are thus required, by statute, to pay each municipality in which they

provide video service, a franchise fee of 5% of their gross revenues derived from their operations

in that municipality.7

          37.    Defendants’ failure to obtain the required state-issued certificate of franchise

authority does not excuse Defendants’ obligations to make these payments.

          38.    Defendants have failed to comply with Ark. Code Ann. § 23-19-206, because they

have failed to pay Plaintiff and the other Class members the required 5% of gross revenues.

          39.    A municipality can sue over a dispute concerning payment of the 5% fee.8



6
    See Ark. Code Ann. § 23-19-202(15)(16).
7
    See Ark. Code Ann. § 23-19-206(e).
8
    See Ark. Code Ann. § 14-54-101(1).

                                                 9
Case 4:20-cv-04113-SOH Document 2                   Filed 12/23/20 Page 10 of 13 PageID #: 12




        40.     Plaintiff and the other Class members are, therefore, entitled to damages as a result

of Defendants’ violations of Ark. Code Ann. § 23-19-206, along with pre- and post-judgment

interest, in an amount to be determined at trial.

                                       COUNT II
                               DECLARATORY JUDGMENT ACT

        41.     Plaintiff repeats, realleges, and incorporates by reference Paragraphs 1-33, as if

fully set forth herein, and further alleges, in addition and/or in the alternative to Count I, as follows:

        42.     This case involves an actual controversy of sufficient immediacy, which is

substantial and concrete, touches upon the legal relations of parties with adverse interests, and is

subject to specific relief through a decree of conclusive character.

        43.     Pursuant to 28 U.S.C. §§ 2201-2202, Plaintiff seeks a declaration, and resulting

order, from the Court that:

                a. Each Defendant provides “video service,” as that term is defined in the

                    Arkansas Video Service Act. See Ark. Code Ann. §23-19-202(15);

                b. Each Defendant is a “video service provider,” as that term is defined in the

                    Arkansas Video Service Act. See Ark. Code Ann. §23-19-202(16);

                c. Defendants provide video service, and are video service providers, in Ashdown

                    and each of the other municipalities comprising the Class. See Ark. Code Ann.

                    §23-19-202(15)(16);

                d. Defendants were required to file an application with the Secretary of State for

                    a state-issued certificate of franchise authority (“SICFA”). See Ark. Code Ann.

                    § 23-19-203;




                                                    10
Case 4:20-cv-04113-SOH Document 2                Filed 12/23/20 Page 11 of 13 PageID #: 13




               e. Defendants are required to pay Plaintiff and each of the other Class members a

                   franchise fee of 5% of their gross revenues derived from their operations in each

                   such municipality, pursuant to Ark. Code Ann. §23-19-206(a)(3);

               f. Defendants owe simple interest equal to that of judgments for all video service

                   provider fees that are forty-five days past due, pursuant to Ark. Code Ann. §23-

                   19-206(c)(3); and

               g. Defendants have failed to comply with the Arkansas Video Service Act because

                   they have each failed to pay to Plaintiff and each of the other Class members

                   the required 5% of gross revenues.

                                   REQUEST FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the other Class members,

respectfully requests that the Court enter judgment in its favor and against Defendant as follows:

       a.      Entering an Order certifying the above-defined Class and designating Plaintiff as

               Class Representative, and Plaintiff’s counsel as Class Counsel;

       b.      Awarding all monetary relief to which Plaintiff and the other Class members are

               entitled, including as set forth in Count I above;

       c.      Granting declaratory relief as set forth in Count II above, including ordering

               Defendants to cure their noncompliance with Ark. Code Ann. §23-19-203 and Ark.

               Code Ann. §23-19-206;

       d.      Awarding pre- and post-judgment interest;

       e.      Awarding reasonable attorneys’ fees and costs to Plaintiff’s counsel; and

       f.      Granting such further and other relief as this Court deems appropriate.




                                                 11
Case 4:20-cv-04113-SOH Document 2   Filed 12/23/20 Page 12 of 13 PageID #: 14




Dated: December 23rd, 2020

                                         Respectfully submitted,

                                         /s/ M. Chad Trammell (AR – 95125)
                                         Melody H. Piazza (AR-86108)
                                         Trammell Piazza Law Firm, PLLC
                                         418 North State Line Avenue
                                         Texarkana, Arkansas 71854
                                         Tel.: 870-779-1860
                                         chad@trammellpiazza.com
                                         melody@trammellpiazza.com

                                         Adam J. Levitt*
                                         Mark Hamill*
                                         Brittany Hartwig*
                                         DICELLO LEVITT GUTZLER LLC
                                         Ten North Dearborn Street, Sixth Floor
                                         Chicago, Illinois 60602
                                         Tel: 312-314-7900
                                         alevitt@dicellolevitt.com
                                         mhamill@dicellolevitt.com
                                         bhartwig@dicellolevitt.com

                                         Austin Tighe*
                                         Michael Angelovich*
                                         NIX PATTERSON, LLP
                                         3600 North Capital of Texas Highway
                                         Building B, Suite 350
                                         Austin, Texas 78746
                                         Tel: 512-328-5333
                                         atighe@nixlaw.com
                                         mangelovich@nixlaw.com

                                         Peter Schneider*
                                         SCHNEIDER WALLACE COTTRELL
                                         KONECKY, LLP
                                         3700 Buffalo Speedway, Ste. 1100
                                         Houston, Texas 77098
                                         Tel: 713-338-2560
                                         pschneider@schneiderwallace.com

                                         Todd M. Schneider*
                                         Jason H. Kim*
                                         Kyle G. Bates*
                                         SCHNEIDER WALLACE COTTRELL

                                    12
Case 4:20-cv-04113-SOH Document 2         Filed 12/23/20 Page 13 of 13 PageID #: 15




                                               KONECKY, LLP
                                               2000 Powell Street, Suite 1400
                                               Emeryville, California 94608
                                               Tel: 415-421-7100
                                               tschneider@schneiderwallace.com
                                               jkim@schneiderwallace.com
                                               kbates@schneiderwallace.com

                                               Anthony Bruster
                                               Arkansas Bar No. 2003041
                                               BRUSTER, PLLC
                                               680 N. Carroll Ave., Suite 110
                                               Southlake, Texas 76092
                                               Telephone: (817) 601-9564
                                               akbruster@brusterpllc.com


                                               Counsel for Plaintiff and the Proposed
                                               Class


* Pro Hac Vice applications to be filed




                                          13
